                                                                                   Exhibit B
                                     Cooper Strickland
                                         Attorney at Law
                                       Post Office Box 92
                                    Lynn, North Carolina 28750

May 8, 2023

[Via Electronic Transmission: joshua.kolsky@usdoj.gov, rachael.westmoreland@usdoj.gov,
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United States Department of Justice
Civil Division, Federal Programs Branch
1100 L Street NW
Washington, DC 20005

       RE: Strickland v. United States (1:20-cv-00066-WGY)

Dear Counsel:

       Plaintiff hereby submits this privilege notice to Defendants pursuant to Fed. R. Civ. P.
26(b)(5), Fed. R. Evid. 502(a)–(b), (d), and the Parties’ Stipulated Clawback Agreement (ECF
No. 184). During her deposition on April 25, 2023, privileged information was inadvertently
disclosed in response to counsel’s questions about
           Tr. 134; Tr. 166–69. The information concerns



       Moreover, this line of questioning has had the effect of

                            For this reason, Plaintiff also asserts                                 .

        Plaintiff asserts privilege over this entire line of questioning. Additionally, Plaintiff asks
that Defendants follow the procedures in the above cited authorities by striking the testimony, or,
alternatively, by consenting that Plaintiff contact the court reporter to ensure that the testimony is
stricken; destroying all documents with the testimony and any copies; and certifying to Plaintiff
that the testimony has been stricken and that the document and any copies have been destroyed.

Respectfully,


/s/ Cooper Strickland
Cooper Strickland


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